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      In The United States Court of Federal Claims
                                            No. 08-700C

                                   (Filed: November 9, 2012)
                                           __________

 JAY ANTHONY DOBYNS,

                               Plaintiff,

                        v.

 THE UNITED STATES,

                               Defendant.

                                             _________

                                              ORDER
                                             _________

        On November 8, 2012, a telephonic status conference was held in this case. Participating
in the conference were James Bernard Reed, for plaintiff, and David Allen Harrington, for
defendant. Pursuant to discussions during the conference, the court adopts the following
schedule:

       1.     On or before January 16, 2013, the parties shall have the Meeting of
              Counsel and exchange exhibits and information on witnesses,
              including expert witnesses, to be used at trial. See RCFC, Appendix
              A, ¶ 13(a) and (b);

       2.     On or before February 19, 2013, plaintiff shall file:

              a.      Its Memorandum of Contentions of Fact and Law, containing
                      a summary of plaintiff’s basic factual contentions, together
                      with any applicable legal authority. See Appendix A, ¶
                      14(a);

              b.      A separate statement setting forth a list of witnesses to be
                      called at trial, pursuant to Appendix A, ¶ 15;

              c.      A separate statement setting forth a list of exhibits to be
                      offered at trial, pursuant to Appendix A, ¶ 16;
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     d.     Any motions in limine based on information available to
            date;

3.   On or before April 1, 2013, defendant shall file:

     a.     Its response to plaintiff’s Memorandum of Contentions of
            Fact and Law. See Appendix A, ¶ 14(b);

     b.     A separate statement setting forth a list of witnesses to be
            called at trial, pursuant to Appendix A, ¶ 15;

     c.     A separate statement setting forth a list of exhibits to be
            offered at trial, pursuant to Appendix A, ¶ 16;

     d.     Its response to plaintiff’s motions in limine;

     e.     Any motions in limine it intends to file;

4.   On or before April 22, 2013, plaintiff shall file:

     a.     Its response to defendant’s motions in limine;

     b.     Any motions in limine prompted specifically by defendant’s
            April 1, 2013 filings;

5.   A pre-trial conference will be held on May 17, 2013, at 10:00 a.m.
     (EDT) at the United States Court of Federal Claims, National Courts
     Building, 717 Madison Place, N.W., Washington, D.C. 20005. The
     courtroom location will be posted in the lobby on the day of the pre-
     trial conference; and

6.   Trial in this case will commence on June 10, 2013, in Tucson,
     Arizona – the length of the trial to be determined after the court
     receives Appendix A filings from both parties.

IT IS SO ORDERED.




                                                    s/Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge




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